            CaseApplication
   AO 106A (08/18) 2:23-mj-00198-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    01/18/23
                                                                                    Means           Page 1 of 23 Page ID #:1


                                            UNITED STATES DISTRICT COURT
                                                                            for the
                                                                Central District
                                                             __________  Districtofof
                                                                                    California
                                                                                      __________

                      In the Matter of the Search of                          )
              (Briefly describe the property to be searched or identify the   )
                              person by name and address)                     )      Case No.      2:23-MJ-00198
       The Person of Mark Allen Barger                                        )
                                                                              )
                                                                              )
                                                                              )

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                        evidence of a crime;
                        contraband, fruits of crime, or other items illegally possessed;
                        property designed for use, intended for use, or used in committing a crime;
                        a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                Code Section                                                             Offense Description
          18 U.S.C. § 39A                                                     Aiming a laser pointer at an aircraft
             The application is based on these facts:
                    See attached Affidavit
                        Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                     ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                  /s/ Daniel Dales
                                                                                                      Applicant’s signature

                                                                                                  FBI Special Agent Daniel Dales
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                      Judge’s signature

City and state: Los Angeles, CA                                                                   Hon. Paul L. Abrams
                                                                                                      Printed name and title

AUSA: Suria Bahadue (x5487)
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                            ATTACHMENT A-1

PREMISES TO BE SEARCHED

     The SUBJECT RESIDENCE is the home located at 1600 East

Silva Street, Long Beach, California 90807.        The SUBJECT

RESIDENCE is a single-story house with an attached garage, and

is depicted in the photograph below.       The SUBJECT RESIDENCE has

tan stucco, a light brown and black roof, and dark brown front

door and garage door.    The numbers “1600” are displayed on a

wood feature just to the right of the front door.

     The SUBJECT RESIDENCE includes all guesthouses, annexes,

attics, porches, garages, carports, outside yard (including all

sheds or storage space), mailboxes, trash containers, debris

boxes, and all vehicles, whether parked in the garage or

driveway of the SUBJECT RESIDENCE.




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                            ATTACHMENT A-2

PERSON TO BE SEARCHED

     The person of MARK ALLEN BARGER, date of birth January 28,

1976, approximately 6’1” tall and approximately 190 pounds, with

green eyes and blonde hair.     The search of MARK ALLEN BARGER

shall include any items on his person or within his immediate

vicinity and control that are capable of containing items to be

seized, including clothing pockets, containers, briefcases,

backpacks, boxes, wallets, capsules, tubes, and purses.




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                            ATTACHMENT A-3


VEHICLE TO BE SEARCHED

     The SUBJECT VEHICLE is a black 2013 Dodge Ram bearing

California license plate number MUSBKOZ and Vehicle

Identification Number 1D7HA18D23S327298.        The SUBJECT VEHICLE is

registered to Barbara Barger or Steven Kozdrey of 1600 East

Silva Street, Long Beach, California.       Barbara Barger is

BARGER’s mother, and Steven Kozdrey is BARGER’s step-father.




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                              ATTACHMENT B

I.   ITEMS TO BE SEIZED
     1.   The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 18 U.S.C. § 39A

(aiming a laser pointer at an aircraft) (the “SUBJECT OFFENSE”),

namely:

          a.    Any laser of any color, any light-emitting device

powerful enough to interfere with aircraft in flight, or any

device designed or used to amplify electromagnetic radiation by

stimulated emission that emits a beam designed to be used by the

operator as a pointer or highlighter to indicate, mark, or

identify a specific position, place, item, or object;

          b.    Any evidence of the purchase, receipts,

packaging, capabilities, range, operation, warnings, and

guidance for use of any laser, light-emitting device powerful

enough to interfere with aircraft in flight, or any device

designed or used to amplify electromagnetic radiation by

stimulated emission that emits a beam designed to be used by the

operator as a pointer or highlighter to indicate, mark, or

identify a specific position, place, item, or object;

          c.    Any evidence of law enforcement operations

including radio or other similar devices used to scan, track, or

monitor government, private, or commercial aircraft movements,

radio channels, air support, operations, schedules, and

capabilities, or electronic devices used to scan, track, or

monitor law enforcement;



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          d.    Any evidence of agreement, planning, or

preparation to destroy, distract, or otherwise disrupt aircraft

with use of a laser, light-emitting device powerful enough to

interfere with aircraft in flight, or any device designed or

used to amplify electromagnetic radiation by stimulated emission

that emits a beam designed to be used by the operator as a

pointer or highlighter to indicate, mark, or identify a specific

position, place, item, or object;

          e.    Any evidence concerning shining lasers at

aircraft including, but not limited to, Federal Aviation

Administration regulations and warnings regarding dangers of

shining lasers or light-emitting devices at aircraft;

          f.    Records, documents, programs, applications or

materials, or evidence of the absence of the same, related to

lasers, light-emitting devices powerful to interfere with

aircraft or to effectuate the above-named violation, or any

device designed or used to amplify electromagnetic radiation by

stimulated emission that emits a beam designed to be used by the

operator as a pointer or highlighter to indicate, mark, or

identify a specific position, place, item, or object;

          g.    Audio recordings, pictures, video recordings, or

still captured images related to lasers, light-emitting devices

powerful to interfere with aircraft or to effectuate the above-

named violation, or any device designed or used to amplify

electromagnetic radiation by stimulated emission that emits a

beam designed to be used by the operator as a pointer or


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highlighter to indicate, mark, or identify a specific position,

place, item, or object; and

          h.    Contents of any calendar or date book.




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                               AFFIDAVIT

     I, Daniel Dales, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT
     1.      This affidavit is made in support of applications for

warrants to search 1600 East Silva Street, Long Beach,

California 90807 (the “SUBJECT RESIDENCE”), as described more

fully in Attachment A-1, the person of Mark Allen Barger

(“BARGER”), as described more fully in Attachment A-2, and a

black 2003 Dodge Ram bearing California license plate MUSBKOZ

and vehicle identification number 1D7HA18D23S327298 (the

“SUBJECT VEHICLE”), as described more fully in Attachment A-3.

     2.      The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of 18

U.S.C. § 39A (aiming a laser pointer at an aircraft) (the

“SUBJECT OFFENSE”).    Attachments A-1, A-2, A-3, and B are

incorporated herein by reference.

     3.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrants and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only, and all dates and times

are on or about those indicated.
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                           II. INTRODUCTION
     4.   I am a Special Agent with the Federal Bureau of

Investigation (“FBI”) and have been so employed since July 2017.

I am currently assigned to the Los Angeles Field Office’s Long

Beach Resident Agency Joint Terrorism Task Force.         As a Special

Agent, I have received both formal and informal training from

the FBI regarding domestic and foreign terrorism investigations.

My duties on the Task Force include investigating violations of

the laws of the United States including those that threaten

aviation security.    As a Special Agent, I am authorized by law

or by a Government agency to engage in or supervise the

prevention, detention, investigation, or prosecution of a

violation of Federal criminal laws.       In my role, I have also

participated in the execution of multiple search and arrest

warrants, including warrants executed at physical residences in

cases involving subjects who threaten aviation security.

                   III. SUMMARY OF PROBABLE CAUSE

     5.   Between January 2022 and January 2023, the Long Beach

Police Department (“LBDP”) has received approximately 39 calls

from aircraft reporting laser strikes, or “laser intrusions.”

Of those calls, approximately 21 concern a laser emanating from

the area surrounding the SUBJECT RESIDENCE.

     6.   In December 2022 and January 2023, LBPD detectives

conducted physical surveillance at the SUBJECT RESIDENCE and saw

a male -- later identified as BARGER who is on state parole and

subject to search conditions -- at and around the SUBJECT

RESIDENCE when the laser strikes occurred. On December 22, 2022,
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for example, LBPD detectives saw three green strikes come from

the sidewalk adjacent to the SUBJECT RESIDENCE and then saw

BARGER walk from the same area, open the rear cover of the

SUBJECT VEHICLE, and walk in the direction of the front door of

the SUBJECT RESIDENCE.      On another occasion on January 12, 2023,

a LBPD detective captured on his body-worn camera a green laser

emanating from BARGER’s backyard.

                    IV. STATEMENT OF PROBABLE CAUSE

      7.     Based on my review of law enforcement reports,

surveillance videos, conversations with law enforcement, and my

personal involvement with the investigation, I am aware of the

following.

      A.     From January 2022 Through Today, a Green Laser
             Emanating from the SUBJECT RESIDENCE and Surrounding
             Area Has Hit Commercial, Private, and Government
             Aircrafts
      8.     Based on my review of law enforcement reports and

conversations with law enforcement, beginning no later than

January 2022 and continuing through to present day, LBPD has

identified nearly 40 occasions where a green laser has struck

commercial, private, and government aircrafts.

      9.     Specifically, LBPD received approximately 39 reports

of laser    strikes for the 2022 calendar year.       LBPD’s review of

the pilots’ reports from those incidents indicated that 21 of

them involved a green laser that emanated from the SUBJECT

RESIDENCE or the general area of the SUBJECT RESIDENCE.

      10.    Based on the reporting, in December 2022 and January

2023, LBPD detectives reviewed surveillance footage and
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conducted physical surveillance to identify the suspect aiming

the laser at aircraft, as explained further below:

            1.   On December 14, 2022, a Green Laser Emanating
                 from the Area of the SUBJECT RESIDENCE Strikes
                 LBPD Aircraft
      11.   Based on my review of law enforcement reports and

conversations with law enforcement, a green laser emanating from

the area of the SUBJECT RESIDENCE struck LBPD’s Air Support Unit

helicopter (the “FOX2”), on December 14, 2022, at approximately

10:33 p.m. and again, at approximately 10:52 p.m.

      12.   Based on my review of the surveillance footage, each

laser strike originated from the SUBJECT RESIDENCE.          I captured

the below still shot from FOX2’s surveillance camera.




       Figure 1: Still photo of green laser strike emanating
        from the area of the SUBJECT RESIDENCE at 10:52 p.m.


      13.   I also conducted physical surveillance of the SUBJECT

RESIDENCE and the surrounding homes on January 13, 2023.           During

my physical surveillance, I saw a blue, second-story home


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approximately five houses east of the SUBJECT RESIDENCE.           This

was the only second-story home on Silva Street -- the same

street as the SUBJECT RESIDENCE.         Using the blue, second-story

home as a landmark, I then compared my in-person observations to

FOX2’s surveillance footage.       The red arrow above points to the

same blue, second-story residence, and it is roughly the same

distance away from the SUBJECT RESIDENCE from which the green

laser is being shined.

      14.   Based on my review of the security footage and in-

person visit to the SUBJECT RESIDENCE and surrounding area, I

believe that based on the distance between the blue, second-

story home and the green laser beam, the source of the laser

strike is at or adjacent to the SUBJECT RESIDENCE.

            2.   On December 22, 2022, BARGER is Seen After and
                 During Reports of a Green Laser Strike on LBPD
                 Aircraft from the SUBJECT RESIDENCE
      15.   Based on my review of law enforcement reports and

conversations with law enforcement officers, after the December

14, 2022, laser strikes, a LBPD detective set up physical

surveillance in the general area of the SUBJECT RESIDENCE on

December 22, 2022, beginning at approximately 10:00 p.m.           The

following occurred:

            a.   During the surveillance, the detective

communicated with FOX2, which was in flight for routine patrol

duties.

            b.   At approximately 11:30 p.m., the detective

observed three short bursts of a green laser, directed at FOX2,

from the south sidewalk in the area of the SUBJECT RESIDENCE.
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             c.   The detective radioed the laser strike to FOX2;

however, the flight crew did not see the laser because FOX2 was

flying away from the area, and the laser was shined towards the

rear of the aircraft.

             d.   Immediately after seeing the green laser

emanating from the south sidewalk, the detective saw a larger

male silhouette wearing a beanie cap standing in the area where

the laser originated.

             e.   The detective then saw the male access the

SUBJECT VEHICLE in the driveway of the SUBJECT RESIDENCE and

walk in the direction of the front door of the SUBJECT

RESIDENCE.

             f.   The detective then drove around the block to

obtain the address for the SUBJECT RESIDENCE and to get a better

view of the male suspect seen walking from the south sidewalk.

             g.   While the detective was driving around the block,

at approximately 11:51 p.m., FOX2 radioed that they were struck

multiple times with a laser.       The detective did not observe the

laser from the ground, but as the detective drove back to the

area of the SUBJECT RESIDENCE, he saw the same larger male with

a beanie cap sitting on the front porch of the SUBJECT

RESIDENCE.    The detective then used his binoculars and saw the

suspect’s face.

             h.   The detective reported that there were no other

individuals in the area of the SUBJECT RESIDENCE at that time.

             i.   The detective also obtained a license plate of

MUSBKOZ on a black Dodge Ram truck, the SUBJECT VEHICLE, in the
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driveway of the SUBJECT RESIDENCE and the license plate of

3MDB61 of a burgundy Lincoln in the same driveway (the

“Lincoln”), and then left the area.

            j.   Later that evening, the detective spoke with the

primary pilot for the FOX2, who is called the “Pilot in Command.

He reported the second laser strike and explained that the laser

entered their cockpit and was so bright that it caused him to

look away from his instrument panel.        The Tactical Flight

Officer, who was also in the cockpit of the helicopter, also

reported that he looked away to shield his eyes, which

interfered with his police duties and ability to control the

helicopter if needed.

            3.   On January 1, 2023, a Green Laser Struck FOX2
                 Multiple Times from the Area of the SUBJECT
                 RESIDENCE
      16.   Based on my review of law enforcement reports and

conversations with law enforcement, on January 1, 2023 at

approximately 10:59 p.m., a green laser struck the FOX2

approximately five times from the area of the SUBJECT RESIDENCE.

During the five strikes, the cockpit was hit two to three times,

causing both the Pilot in Command and the Tactical Flight

Officer to look away from their instrument panels to shield

their eyes from the laser.

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               Figure 2: Still photo of green laser strike
     emanating from the area of the SUBJECT RESIDENCE at 10:59 p.m.




            Figure 3: Still photo of the SUBJECT RESIDENCE,
      which was identified as the source of the laser in Figure 2



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   Figure 4: Still photo of green laser strike emanating from
   the area of the SUBJECT RESIDENCE approximately 12 minutes
             after the strike depicted in Figure 2.

            4.    On January 8, 2023, a Green Laser Struck FOX2
                  Multiple Times from the Area of the SUBJECT
                  RESIDENCE
      17.   Based on my review of law enforcement reports and

conversations with law enforcement, on January 8, 2023 at

approximately 10:07 p.m., FOX2 reported multiple strikes from a

green laser from the area of the SUBJECT RESIDENCE.          FOX2 was

en-route to assist officers on the ground in a pursuit of an

armed carjacking suspect.      Based on the laser strikes, FOX2

changed course, as the Pilot in Command and Tactical Flight

Officer again had to look away from the aircraft controls.

Despite trying to shield his eyes, the Tactical Flight Officer

was struck with the green laser in his eye causing temporary

blurred vision.

      18.   Based on my review of law enforcement reports and

conversations with law enforcement, on January 8, 2023 at


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approximately 11:13 p.m., FOX2 reported being hit a second time

from the area of the SUBJECT RESIDENCE.

            5.   On January 10, 2023, BARGER Was Seen Scanning the
                 Sky for Aircraft
      19.   Based on my review of law enforcement reports and

conversations with law enforcement officers, on January 10,

2023, LBPD detectives set up physical surveillance in the

general area of the SUBJECT RESIDENCE from approximately 5:00

p.m. to 9:30 p.m.     The following occurred:

            a.   Detectives set up surveillance with a clear and

unobstructed view of the front of the SUBJECT RESIDENCE.

            b.   While watching the front of the SUBJECT

RESIDENCE, detectives saw the same larger male who they

recognized from December 22, 2022, and who they had already

identified to be BARGER using department resources, as noted

below.

            c.   Detectives saw BARGER walk out the front door of

the SUBJECT RESIDENCE four times.        Each time, BARGER immediately

scanned to the east in the direction of the airport as if he was

scanning the sky for aircraft.

            d.   On one occasion when detectives could hear

aircraft in the vicinity of the SUBJECT RESIDENCE, BARGER walked

out of the SUBJECT RESIDENCE and scanned the entire sky,

appearing to be looking for aircraft.

            e.   Detectives ended their surveillance at

approximately at 11:30 p.m.



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      20.   Based on my review of law enforcement reports and

conversations with law enforcement officers, the next day on

January 11, 2023, pilots of the FOX2 reported that on January

10, 2022, at approximately 11:38 p.m. -- minutes after LBPD

detectives ended their physical surveillance of the SUBJECT

RESIDENCE and while the aircraft was searching for victims in a

flood control area -- a green laser struck the aircraft multiple

times from the area of the SUBJECT RESIDENCE.         The pilots had to

divert direction of the aircraft and look away from the controls

to shield their eyes.

      21.   On January 11, 2023, I, along with LBPD detectives,

also set up physical surveillance at the SUBJECT RESIDENCE.

Before we began our surveillance, a Los Angeles County

Sherriff’s helicopter reported that it was hit by a green laser

from the area northwest of Cherry Street and Del Amo Boulevard,

which is the neighborhood of the SUBJECT RESIDENCE.          LBPD

detectives and I did not see BARGER at the SUBJECT RESIDENCE

after the laser strike was reported, and we ended our

surveillance around 12:00 a.m.

            6.   On January 12, 2023, a Green Laser is Again
                 Pointed at LBPD’s Aircraft From the Backyard of
                 the SUBJECT RESIDENCE
      22.   Based on my review of law enforcement reports and

conversations with law enforcement officers, on January 12,

2023, LBPD detectives, including the same detective who saw

BARGER’s face with binoculars on December 22, 2022, set up

physical surveillance in the general area of the SUBJECT


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RESIDENCE beginning at approximately 5:00 p.m.          The following

occurred:

             a.   At approximately 7:16 p.m., detectives saw BARGER

walk out the front door of the SUBJECT RESIDENCE, walk to the

garage of the SUBJECT RESIDENCE, and open it up.

             b.   Detectives heard FOX2 overhead and saw BARGER

watch the helicopter flying above.        Detectives then saw BARGER

raise his right arm in the air and extend his middle finger in

the direction of FOX2.

             c.   At approximately 7:20 p.m., BARGER closed the

garage and rode away on an electric scooter.         BARGER returned at

approximately 9:20 p.m. on the same electric scooter and put it

back inside of the garage of SUBJECT RESIDENCE.

             d.   At approximately 9:43 p.m., FOX2 radioed

detectives that the aircraft was flying over the Bixby Knolls

neighborhood, southwest of the SUBJECT RESIDENCE, and was struck

by a laser, which originated from the backyard of the SUBJECT

RESIDENCE.

             e.   At approximately 9:48 p.m., detectives saw a

laser originate from the backyard of the SUBJECT RESIDENCE,

which FOX2 advised by radio they also observed.          Detectives

captured the laser strike on body-worn camera.          A still shot of

the laser is depicted below.




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                Figure 6: still photo of green laser
          strike captured on detective’s body-worn camera
       emanating from the backyard of the SUBJECT RESIDENCE.



            f.   Two minutes later, at approximately 9:50 p.m.,

the front porch light of the SUBJECT RESIDENCE shut off, and

BARGER stood out on the porch and watched FOX2 leave the area.

BARGER then went back inside the SUBJECT RESIDENCE and turned

the front porch light back on.       Detectives could hear FOX2 in

the distance and saw BARGER looking out of the window for the

aircraft.   After seeing BARGER in the window, detectives left

the area.

      B.    BARGER Resides at the SUBJECT RESIDENCE
      23.   Based on my conversations with LBPD detectives, on

December 23, 2022, using department resources, LBPD detectives

identified BARGER as a resident of the SUBJECT RESIDENCE.

Specifically, as noted above, on December 22, 2022, a LBPD

detective saw the silhouette of a larger male wearing a beanie
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cap coming from the same area where the detective saw three

bursts of a green laser.      The same LBPD detective then saw the

same male with the large build and beanie cap, sitting on the

front porch of the SUBJECT RESIDENCE.        Using binoculars, the

detective saw the suspect’s face.        As also noted above, on

December 22, 2022, LBPD detectives obtained the address of the

SUBJECT RESIDENCE and the license plates for the SUBJECT VEHICLE

and the Lincoln.

      24.    The very next day, on December 23, 2022, the LBPD

detective who conducted the surveillance, working with other

detectives, ran the address of the SUBJECT RESIDENCE through a

law enforcement database.      The records listed two males as

associated with the SUBJECT RESIDENCE: Steven Michael Kozdrey

and BARGER.    The detectives then ran those names through the

California Department of Motor Vehicles (“DMV”) database and

found photographs for each male.         The LBPD detective who

conducted the surveillance on December 22, 2022, determined that

Kozdrey was not the suspect because Kozdrey was in his

seventies.    The detective then reviewed the photograph for

BARGER and positively identified him as the same suspect that

the detective observed in and around the SUBJECT RESIDENCE after

seeing three short bursts of a green laser on December 22, 2022.

The detective also positively identified BARGER as the same

suspect that he saw through his binoculars on December 22, 2022.

BARGER was also reported to be approximately 6’1” tall and

approximately 190 pounds, which matched the build of the suspect

that the detectives saw during their surveillance operations.
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Finally, while BARGER does not have a driver’s license, his

address on file with the DMV listed the SUBJECT RESIDENCE.

      25.   In addition, LBPD detectives ran the license plates

obtained on December 22, 2022, through their databases.           The

records showed that Kozdrey and Barbara Barger are the

registered owners of the SUBJECT VEHICLE, and Kozdrey is the

registered owner of the Lincoln.         Kozdrey and Barbara Barger are

believed to be BARGER’s step-father and mother, respectively.

      26.   LBPD also learned BARGER is on parole for a felony

conviction for Arson in violation of California Penal Code

Section 451(C), which ends on June 11, 2025.         BARGER is subject

to the following search condition: ”You, your residence, and any

property under your control are subject to search or seizure by

a probation officer, an agent or officer of the California

Department of Corrections and Rehabilitation, or any other peace

officer, at any time of the day or night, with or without a

search warrant, with or without cause.”        LBPD detectives

contacted a state parole agent who also confirmed that BARGER

lives at the SUBJECT RESIDENCE.

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                             V.    CONCLUSION

      27.   For all the reasons described above, there is probable

cause to believe that the items to be seized described in

Attachment B will be found in a search of the SUBJECT RESIDENCE,

the SUBJECT VEHICLE, and on the person of BARGER, as described

in Attachments A-1 to A-3.


Attested to by the applicant in
accordance with Fed. Crim. P. R.
4.1 by telephone on this ___ day
of January 2023.



HONORABLE PAUL L. ABRAMS
UNITED STATES MAGISTRATE JUDGE




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